                   Case 24-11144-TMH             Doc 313        Filed 07/26/24         Page 1 of 7



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    iSun, Inc., et al., 1                                         Case No. 24-11144 (TMH)

             Debtors.                                             (Jointly Administered)

             NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
                            JULY 30, 2024, AT 2:00 PM (ET)

    THIS HEARING HAS BEEN CANCELLED AT THE DIRECTION OF THE COURT AS
                     NO MATTERS ARE GOING FORWARD

MATTERS SUBMITTED UNDER CERITFICATION:

       1. Application of the Official Committee of Unsecured Creditors For Entry of an Order
          Authorizing Retention and Employment of Seward & Kissel LLP as Lead Counsel to the
          Official Committee of Unsecured Creditors, Nunc Pro Tunc to June 18, 2024 [D.I. 180;
          Filed July 9, 2024].

                    Related Documents:

                            A. Supplemental Declaration of Robert J. Gayda in Support of Application of
                               the Official Committee of Unsecured Creditors for Entry of an Order
                               Authorizing Retention and Employment of Seward & Kissel LLP as
                               Counsel to the Official Committee of Unsecured Creditors Nunc Pro Tunc
                               to June 18, 2024 [D.I. 223; Filed July 17, 2024].

                            B. Certification of Counsel Regarding Application of the Official Committee
                               of Unsecured Creditors for Entry of an Order Authorizing Retention and
                               Employment of Seward & Kissel LLP as Counsel to the Official Committee
                               of Unsecured Creditors Nunc Pro Tunc to June 18, 2024 [D.I. 282; Filed
                               July 24, 2024].



1
  The Debtors in these Chapter 11 cases, along with the last four (4) digits of their federal tax identification numbers,
are: (i) iSun, Inc. (“iSun”) (0172) (ii) Hudson Solar Service, LLC (“Hudson”) (1635); (iii) Hudson Valley Clean
Energy, Inc. (“Hudson Valley”) (8214); (iv) iSun Corporate, LLC (“iSun Corporate”) (4391); (v) iSun Energy, LLC
(“iSun Energy”) (1676); (vi) iSun Industrial, LLC (“iSun Industrial”) (4333); (vii) iSun Residential, Inc. (“iSun
Residential”) (3525); (viii) iSun Utility, LLC (“iSun Utility”) (4411) ; (ix) Liberty Electric, Inc. (“Liberty”) (8485);
(x) Peck Electric Co. (“Peck”) (5229); (xi) SolarCommunities , Inc. (“SolarCommunities”) (7316); and (xii) Sun CSA
36, LLC (“Sun CSA”) (7316); (collectively referred to as the “Debtors”). The Debtors’ mailing address is: 400 Avenue
D, Suite 10 Williston, Vermont 05495, with copies to Gellert Seitz Busenkell & Brown LLC, Attn: Michael Busenkell,
1201 N. Orange Street, Suite 300, Wilmington, DE 19801.
          Case 24-11144-TMH         Doc 313     Filed 07/26/24    Page 2 of 7




              C. Order Authorizing Retention and Employment of Seward & Kissel LLP as
                 Counsel to the Official Committee of Unsecured Creditors Nunc Pro Tunc
                 to June 18, 2024 [D.I. 294; Entered July 25, 2024].

           Objection/Response Deadline: July 23, 2024, at 4:00 pm (ET).

           Responses Received: Informal comments from the United States Trustee.

           Status: An Order was entered on July 25, 2024. This matter is not going
           forward.

2. Application of the Official Committee of Unsecured Creditors For Entry of an Order
   Authorizing Retention and Employment of Benesch, Friedlander, Coplan & Aronoff LLP
   as Delaware Counsel to the Official Committee of Unsecured Creditors, Nunc Pro Tunc to
   June 18, 2024 [D.I. 181; Filed July 9 2024].

           Related Documents:

              A. Certificate of No Objection Regarding Application of the Official
                 Committee of Unsecured Creditors for Entry of an Order Authorizing
                 Retention and Employment of Benesch, Friedlander, Coplan & Aronoff
                 LLP as Delaware Counsel to the Official Committee of Unsecured Creditors
                 Nunc Pro Tunc to June 18, 2024 [D.I. 283; Filed July 24, 2024].

              B. Order Authorizing Retention and Employment of Benesch, Friedlander,
                 Coplan & Aronoff LLP as Delaware Counsel to the Official Committee of
                 Unsecured Creditors Nunc Pro Tunc to June 18, 2024 [D.I. 290; Entered
                 July 25, 2024].

           Objection/Response Deadline: July 23, 2024, at 4:00 pm (ET).

           Responses Received: None.

           Status: An Order was entered on July 25, 2024. This matter is not going
           forward.

3. Application of the Official Committee of Unsecured Creditors of iSun, Inc., et al., for an
   Order Authorizing and Approving the Employment and Retention of Dundon Advisers
   LLC as Financial Advisor Effective as of June 18, 2024 [D.I. 182; Filed July 9 2024].

           Related Documents:

              A. Supplemental Declaration of Matthew Dundon in Support of the
                 Application of the Official Committee of Unsecured Creditors of iSun, Inc.,
                 et al, for an Order Authorizing and Approving the Employment and


                                            2
         Case 24-11144-TMH        Doc 313     Filed 07/26/24     Page 3 of 7




                 Retention of Dundon Advisers LLC as Financial Advisor Effective as of
                 June 18, 2024 [D.I. 235; Filed July 22, 2024].

             B. Certification of Counsel Regarding Application of the Official Committee
                of Unsecured Creditors of iSun, Inc., et al., for an Order Authorizing and
                Approving the Employment and Retention of Dundon Advisers LLC as
                Financial Advisor Effective as of June 18, 2024 [D.I. 284; Filed July 24,
                2024].

             C. Order Authorizing and Approving the Retention of Dunson Advisers LLC
                as Financial Advisor to the Official Committee of Unsecured Creditors of
                iSun, Inc., et al., Effective as of June 18, 2024 [D.I. 295; Entered July 25,
                2024].

          Objection/Response Deadline: July 23, 2024, at 4:00 pm (ET).

          Responses Received: Informal comments from the United States Trustee.

          Status: An Order was entered on July 25, 2024. This matter is not going
          forward.

4. Motion of the Official Committee of Unsecured Creditors for an Order Pursuant to
   Bankruptcy Rule 2004 and Local Bankruptcy Rule 2004-1 Authorizing and Directing the
   Production of Documents from the Debtors [D.I. 194; Filed July 16, 2024].

          Related Documents:

             A. Certificate of No Objection Regarding Motion of the Official Committee of
                Unsecured Creditors for an Order Pursuant to Bankruptcy Rule 2004 and
                Local Bankruptcy Rule 2004-1 Authorizing and Directing the Production
                of Documents from the Debtors [D.I. 285; Filed July 24, 2024].

             B. Order Pursuant to Bankruptcy Rule 2004 and Local Bankruptcy Rule 2004-
                1 Authorizing and Directing the Production of Documents from the Debtors
                [D.I. 311; Entered July 26, 2024].

          Objection/Response Deadline: July 23, 2024, at 4:00 pm (ET).

          Responses Received: None.

          Status: An Order was entered on July 26, 2024. This matter is not going forward.




                                          3
           Case 24-11144-TMH        Doc 313     Filed 07/26/24    Page 4 of 7




ADJOURNED MATTERS:

  5. Debtors’ Motion For Entry Of Orders (A) (I) Approving Bid Procedures In Connection
     With The Sale Of Substantially All Of The Debtors’ Assets, (II) Scheduling An Auction
     And A Sale Hearing, (III) Approving The Form And Manner Of Notice Thereof, (IV)
     Authorizing The Debtors To Enter Into The Stalking Horse Agreement, (V) Approving
     Procedures For The Assumption And Assignment Of Contracts And Leases, And
     (VI) Granting Related Relief; And (B) (I) Approving The Purchase Agreement; (II))
     Approving The Sale Of Substantially All Of The Debtors’ Assets Free And Clear;
     (III) Approving The Assumption And Assignment Of Contracts And Leases; And (IV)
     Granting Related Relief [D.I. 65; Filed June 7, 2024].

            Related Documents:

                A. Order (A) (I) Approving Bid Procedures In Connection With The Sale Of
                   Substantially All Of The Debtors Assets, (II) Scheduling An Auction And
                   A Sale Hearing, (III) Approving The Form And Manner Of Notice Thereof,
                   (IV) Authorizing The Debtors To Enter Into The Stalking Horse
                   Agreement, (V) Approving Procedures For The Assumption And
                   Assignment Of Contracts And Leases, And (VI)Granting Related Relief;
                   And (B) (I) Approving The Purchase Agreement; (II)) Approving The Sale
                   Of Substantially All Of The Debtors Assets Free And Clear; (III)Approving
                   The Assumption And Assignment Of Contracts And Leases; And (IV)
                   Granting Related Relief [D.I. 183; Entered July 10, 2024].

                B. Notice of Sale by Auction, Sale Hearing, and Designation of Stalking Horse
                   Bidder [D.I. 184; Filed July 10, 2024].

                C. Notice of Potential Contract Assumption and Assignment [D.I. 185; Filed
                   July 10, 2024].

                D. Amended Notice of Potential Contract Assumption and Assignment [D.I.
                   186; Filed July 11, 2024].

                E. Certificate of Mailing for D.I. 183, 184 and 185 [D.I. 188; Filed July 12,
                   2024].

                F. Supplemental Notice of Potential Contract Assumption and Assignment
                   [D.I. 226; Filed July 18, 2024].

                G. Second Supplemental Notice of Potential Contract Assumption and
                   Assignment [D.I. 230; Filed July 19, 2024].

                H. Second Amended Notice of Potential Contract Assumption and Assignment
                   [D.I. 233; Filed July 22, 2024].


                                            4
Case 24-11144-TMH       Doc 313     Filed 07/26/24    Page 5 of 7




   I. Notice of Successful Bidder and Cancellation of Auction [D.I. 269; Filed
      July 23, 2024].

   J. Notice of Filing of Proposed Sale Order [D.I. 286; Filed July 24, 2024].

   K. Witness and Exhibit List of Nautilus Solar for the Sale Hearing Scheduled
      for July 30, 2024 at 2:00 p.m. (Prevailing Eastern Time) [D.I. 287; Filed
      July 24, 2024].

   L. Affidavits of Publication Regarding Notice Of Sale By Auction, Sale
      Hearing, And Designation Of Stalking Horse Bidder [D.I. 289; Filed July
      25, 2024].

Objection/Response Deadline: July 23, 2024 at 4;00 pm (ET) with respect to the
Sale. Extended to July 24, 2024 at 5:00 pm (ET) for NBT.

Responses Received:

   M. Objection and Reservation of Rights of ReArch Company to the Cure
      Amounts Proposed in the Debtors Amended Notice of Potential Contract
      Assumption and Assignment [D.I. 251; Filed July 23, 2024].

   N. Contract Objection and Reservation of Rights of BNRG Renewables
      Limited With Respect to Debtors' Amended Notice of Potential Contract
      Assumption and Assignment-and-Objection and Reservation of Rights of
      BNRG Renewables Limited With Respect to Debtors' Motion for Entry of
      Sale Order [D.I. 252; Filed July 23, 2024].

   O. Objection of Fusion Renewable NA, LLC, Fusion Renewable, LLC, ER
      Kendall Hill Solar, LLC and ER Waite Cemetery Solar, LLC to Assumption
      and Assignment [D.I. 256; Filed July 23, 2024].

   P. Objection of Tesla, Inc. to Debtors' Proposed Cure Amount and
      Accompanying Reservation of Rights [D.I. 259; Filed July 23, 2024].

   Q. Limited Objection and Reservation of Rights of Unsworth Properties, LLC
      to the Potential Assumption of Unexpired Lease [D.I. 260; Filed July 23,
      2024].

   R. Objection of Nautilus Solar to Sale, Proposed Contract Assumption and
      Assignment, Proposed Cure, and Adequate Assurance of Future
      Performance [D.I. 261; Filed July 23, 2024].

   S. Limited Objection to and Reservation of Rights of Merchants National
      Bonding Company, Inc. and Great Midwest Insurance Company Regarding


                                5
Case 24-11144-TMH      Doc 313     Filed 07/26/24    Page 6 of 7




      Debtors (I) Notice of Potential Contract Assumption and Assignment [Dkt.
      No. 185], (II) Amended Notice of Potential Contract Assumption and
      Assignment [Dkt. No. 186], (III) Supplemental Notice of Potential Contract
      Assumption and Assignment [Dkt. No. 226], (IV) Second Supplemental
      Notice of Potential Contract Assumption and Assignment [Dkt. No. 230],
      (V) Second Amended Notice of Potential Contract Assumption and
      Assignment [Dkt. No. 233], and (VI) Sale of Assets [D.I. 262; Filed July
      23, 2024].

   T. Encore Redevelopment, LLC's Limited Objection to Debtors' Sale Motion
      and Reservation of Rights [D.I. 263; Filed July 23, 2024].

   U. Ford Motor Credit Co.’s Objections to Confirmation Of Chapter 11 Plan
      and Sale [D.I. 270; Filed July 23, 2024].

   V. Ally Bank’s Objection to Confirmation of Chapter 11 Plan and Sale [D.I.
      271; Filed July 23, 2024].

   W. Objection of Cedar Advance, LLC to Debtors' Motion for Sale of Property
      Free and Clear of Liens [D.I. 272; Filed July 23, 2024].

   X. Limited Objection and Reservation of Rights of Opsun Systems Inc. to the
      Debtors' Sale of Assets to the Successful Bidder [D.I. 274; Filed July 23,
      2024].

   Y. Supplemental Objection to Assumption and Assignment by Fusion
      Renewable NA, LLC, Fusion Renewable, LLC, ER Kendall Hill Solar,
      LLC, and ER Waite Cemetery Solar, LLC [D.I. 281; Filed July 24, 2024].

   Z. Amended Objection of Fusion Renewable NA, LLC, Fusion Renewable,
      LLC, ER Kendall Hill Solar, LLC and ER Waite Cemetery Solar, LLC to
      Assumption and Assignment [D.I. 288; Filed July 25, 2024].

   AA. NBT Bank, N.A.'s Objection to the Debtors' Motion (the Sale Motion) for
     Order (I) Approving the Purchase Agreement; (II) Approving the Sale of
     Substantially all of the Debtors Assets Free and Clear; (III) Approving the
     Assumption and Assignment of Contracts and Leases; and (IV) Granting
     Relating Relief [D.I. 291; Filed July 25. 2024].

   BB. Supplement of Encore Redevelopment, LLC to Limited Objection to
      Debtors' Sale Motion and Reservation of Rights [D.I. 296; Filed July 25,
      2024].

   CC. Maple SETF, LLC's Joinder to Encore Redevelopment, LLC's Limited
      Objection to Debtors' Sale Motion and Reservation of Rights [D.I. 263] and
      Encore Redevelopment, LLC's Supplement to Limited Objection to


                               6
             Case 24-11144-TMH          Doc 313     Filed 07/26/24    Page 7 of 7




                       Debtors' Sale Motion and Reservation of Rights [D.I. 296] [D.I. 312; Filed
                       July 26, 2024].

              Status: This matter is adjourned to August 12, 2024.

   6. Motion of Debtors to Approve Procedures For The Settlement Of Certain Accounts
      Receivables [D.I. 99; Filed June 24, 2024].

              Related Documents: None.

              Objection/Response Deadline: July 8, 2024, at 4:00 pm (ET). Extended to July 19,
              2024 for Merchants National Bonding Company, Inc. and Great Midwest Insurance
              Company.

              Responses Received:

                  A. Limited Objection and Reservation of Rights of Merchants National
                     Bonding Company, Inc. and Great Midwest Insurance Company to Debtors'
                     Motion to Approve Procedures for the Settlement of Certain Accounts
                     Receivables [D.I. 229; Filed July 19, 2024].

              Status: This matter is adjourned to August 12, 2024.


Dated: July 26, 2024                            GELLERT SEITZ BUSENKELL &
                                                BROWN, LLC

                                                /s/ Michael Busenkell
                                                Michael Busenkell (DE 3933)
                                                Amy D. Brown (DE 4077)
                                                Michael Van Gorder (DE 6214)
                                                1201 North Orange Street, Suite 300
                                                Wilmington, Delaware 19801
                                                Telephone: (302) 425-5812
                                                Facsimile: (302) 425-5814
                                                Email: mbusenkell@gsbblaw.com
                                                        abrown@gsbblaw.com
                                                        mvangorder@gsbblaw.com

                                                Counsel to the Debtors and Debtors-in-
                                                Possession




                                                7
